Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 1 of 39 PageID #: 1825
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 2 of 39 PageID #: 1826
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 3 of 39 PageID #: 1827
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 4 of 39 PageID #: 1828
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 5 of 39 PageID #: 1829
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 6 of 39 PageID #: 1830
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 7 of 39 PageID #: 1831
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 8 of 39 PageID #: 1832
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 9 of 39 PageID #: 1833
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 10 of 39 PageID #:
                                    1834
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 11 of 39 PageID #:
                                    1835
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 12 of 39 PageID #:
                                    1836
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 13 of 39 PageID #:
                                    1837
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 14 of 39 PageID #:
                                    1838
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 15 of 39 PageID #:
                                    1839
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 16 of 39 PageID #:
                                    1840
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 17 of 39 PageID #:
                                    1841
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 18 of 39 PageID #:
                                    1842
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 19 of 39 PageID #:
                                    1843
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 20 of 39 PageID #:
                                    1844
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 21 of 39 PageID #:
                                    1845
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 22 of 39 PageID #:
                                    1846
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 23 of 39 PageID #:
                                    1847
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 24 of 39 PageID #:
                                    1848
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 25 of 39 PageID #:
                                    1849
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 26 of 39 PageID #:
                                    1850
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 27 of 39 PageID #:
                                    1851
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 28 of 39 PageID #:
                                    1852
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 29 of 39 PageID #:
                                    1853
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 30 of 39 PageID #:
                                    1854
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 31 of 39 PageID #:
                                    1855
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 32 of 39 PageID #:
                                    1856
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 33 of 39 PageID #:
                                    1857
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 34 of 39 PageID #:
                                    1858
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 35 of 39 PageID #:
                                    1859
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 36 of 39 PageID #:
                                    1860
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 37 of 39 PageID #:
                                    1861
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 38 of 39 PageID #:
                                    1862
Case: 4:16-cv-00172-SNLJ Doc. #: 133-5 Filed: 07/06/17 Page: 39 of 39 PageID #:
                                    1863
